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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
Plaintiff, 5
VS. Case No. 21-CR-102-CVE
CURTIS ANTHONY JONES,
Defendant.
SPEEDY TRIAL ACT WAIVER

 

Defendant, Curtis Jones, acknowledges that he has a right to a speedy trial and that
this right has been guaranteed to her by the Sixth Amendment to the United States Constitution and
the Speedy Trial Act, 18 U.S.C. §3161. Mr. Jones states that he has discussed these rights with his
attorney, and freely and voluntarily waives his right to a speedy trial and does not object to a
continuance of the trial date in this matter,

Mr. Jones has no objection to an orderbeing entered that all delays resulting fromthe
Motion to declare case complex and extend deadlines and trial (Doc. #144) be excluded under the
Speedy Trial Act. Mr. Jones further has no objection to this Court ordering that all delays from
December 20, 2021, to March 21 2022, resulting from this continuance be excluded under the
Speedy Trial Actand further finding that the ends of justice served by the continuance outweigh the
interests of the public and Mr. Jones in a speedy trial. 18 U.S.C. §3161(h)(7)(A).

Curtis Jones

Dated: November 15, 2021.
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Terry L. Weber, OBA #10149

CERTIFICATE OF SERVICE
I hereby certify that on November 16, 2021, I electronically transmitted the foregoing
document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

Thomas Duncombe, Assistant United States Attorney

Terry L. Weber
